           Case 3:13-cr-03481-BTM                     Document 552                Filed 03/25/15               PageID.2433              Page 1 of 5
                                                                                                                            r------.------,
     fQAO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                                                                                                                                        FILED
                Sheet 1


                                                                                                                                  CLEHK. J"r."()ISrHICT COURT
                                               UNITED STATES DISTRICT COURT                                                  SOUTHER~ DISTfIiCT
                                                                                                                             BY
                                                                                                                                                               IFORNIA
                                                                                                                                                               DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                          GEORGE KARAPETIAN [3]                                    Case Number: 13CR3481-BTM
                                                                                    MICHAEL CROWLEY
                                                                                    Defendant's Attorney
     REGISTRATION NO. 66773112

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s)_I_O_F_T_H_E_IN_D_IC_T_M_E_N_T
                                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not gUilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number!s)
18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD




        The defendant is sentenced as provided in pages 2 through 5                        of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.                                                                                                                                   ,.\
 o    The defendant has been found not guilty on count(s)
      Count(s)
              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is
                                                            -------0--------------·                            --
                                                                     areO dismissed on the motion of the United States.
 O
 181 Assessment: $100 to be paid at the rate of$25 per quarter through the Inmate Financial Responsibility Program.

 181 Fine waived                                    o      Forfeiture pursuant to order filed _ _~-:-_-:--:_ _ ' included herein.
       lT IS ORDERED that the defendantshall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               MARCH 9, 2015
                                                                              Date of Imposition of Sentence



                                                                              Ho~ln~~
                                                                              UNITED STATES DISTRICT mDGE


                                                                                                                                              13CR3481-BTM
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AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment - Page   _..:2,-- of     5
 DEFENDANT: GEORGE KARAPETIAN [3]
 CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        FIFTEEN (15) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
                                                                                           ~~~
                                                                                           BARRYTEMOSKOWITZ            ;:
                                                                                           UNITED STATES DISTRICT JUDGE
         That the defendant serve his sentence in the Western Region.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:                                                ,I
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.
                                                                                                                                   II


    181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         181 before 12:00 PM ON 04/2412015 OR TO THIS COURT ON THAT SAME DATE BY 2:00 PM
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy ofthis judgment.


                                                                                         UNITED STATES MARSHAL


                                                                   By _ _ _ _ _~~~~~~~~~---------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    13CR3481-BTM
       Case 3:13-cr-03481-BTM                      Document 552               Filed 03/25/15             PageID.2435               Page 3 of 5

AO 24SB (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 ~ Supervised Release
                                                                                                                                                                 "
                                                                                                               Judgment~Page     __3__ of            5       I
DEFENDANT: GEORGE KARAPETIAN [3]
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --
o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The derendant shall comply with hie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, 01'
       was convicted ofa qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant sha1l report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controUed substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visifhiI'n or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probatioh officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the                       \:
        defendant's compliance with such notification requirement.                                                                                               J
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                                                                                                                                       13CR3481-BTM              ,,
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        AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment Page ~ of              5
        DEFENDANT: GEORGE KARAPETIAN [3]                                                           II
        CASE NUMBER: 13CR3481-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Make restitution to the Bank of America in the amount of$112,440.50, to be paid in installments of$IOOO.OO per month.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.

181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking or credit accounts or incurring new credit charges or opening additional lines of credit without approval
    of the Probation Officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete           hours of community service in a program approved by the probation officer within
o
181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.


181 The defendant shall notify the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notify the Collections Unit, United States Attorney's Office at least 10
    days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                   13CR3481-BTM
,   '    "




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        AO 245S (CASD Rev. 08113) Judgment in a Criminal Case

             DEFENDANT:          GEORGE KARAPETIAN [3]                                              Judgment - Page 5 of 5
             CASE NUMBER:        13CR3481-BTM

                                                    RESTITUTION


         The defendant shall pay restitntion in the amount of $112,440.50            unto the United States of America.
         For the benefit of Bank of America through the Clerk of Court




         This sum shall be due immediately. And shall be paid as follows: In installments of$1000 per month.




        The Court has determined that the defendant    does not    have the ability to pay interest. It is ordered that:
               The interest requirement is waived




                                                                                                             13CR3481-BTM
